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 4                                   UNITED STATES DISTRICT COURT
 5                                   EASTERN DISTRICT OF CALIFORNIA
 6

 7   UNITED STATES,                                  No. 2:08-cr-00116-KJM
 8                      Plaintiff,
 9          v.                                       ORDER
10   CHARLES HEAD, et al.,
11                      Defendants.
12

13                  This matter is before the court on defendants’ renewed motions to dismiss and for

14   new trial under Federal Rules of Criminal Procedure 29 and 33, brought by Charles Head and

15   Benjamin Budoff. (ECFs 511, 516.) The court previously denied these motions, made orally,

16   without prejudice, for reasons stated on the record. (See ECF 459.)1 Defendants communicated

17   their intention to renew the motions and stipulated with the government on a schedule for

18   supplemental briefing. However, defendants ultimately declined to provide any supplemental

19   briefing or argument; instead, they simply renew the motions as they were originally brought.

20   (ECFs 511, 516.) Therefore, the court DENIES defendants’ renewed motions for the same

21   reasons already stated on the record.

22                  IT IS SO ORDERED.

23   DATED: April 1, 2014.

24
                                                   UNITED STATES DISTRICT JUDGE
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      Defendant Domonic McCarns was a party to the original motions. Because he was appointed
27   new counsel after trial, defendant McCarns’s new counsel and the government have stipulated to
     extend the time for defendant to file his post-trial Rule 29 and 33 motions. (ECF 547.)
28   Therefore, the court does not include defendant McCarns in this order.
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